Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 1 of 12



                             UN ITED STA TES D ISTRICT CO UR T
                             SOU TH ERN D ISTR ICT O F FLORID A

                       CASE N O.12-CV-80577-M ARRA/M ATTHEW M AN


  BRIAN K EIM ,an individual,on behalfof
  himselfand al1otherssimilarly situated,

         Plaintiff,                                       FILED BY                  D.C .

                                                                 MAt 32 2019
                                                                ANGELA E.NOBLE
  A DF M ID A TLA NTIC,LLC,a foreign                            CLERK U S DISI CQ
                                                                sao.oF/uk.-w.RB.
  corporation,eta1.,


         Defendants.



        O RD ER G R ANTIN G D EFEN DA N TS'M O TIO N TO C O M PEL PLA INTIFF'S
         PRODUCTION OF CARRIER SUBPOENA CO M M UNICATIO NS lDE 2991

         TH IS CA USE is before the Coul't upon D efendants,A D F M idatlantic,Inc,A m erican

  Huts,lnc.,ADF Pizza1,LLC,ADF PA,LLC,and Pizza Hut,lnc.'s(tr efendants'')M otion to
  CompelPlaintiffsProduction ofCarrierSubpoenaCommunicationsgDE 2994.Thismatlerwas
  referred to the undersigned upon an Orderreferring alldiscovery mattersto the undersigned for

  appropriatedisposition.SeeDE 65.PlaintiffBrian Keim (dtplaintiff'')hasfiled aResponse (DE
   301j,and DefendantshavefiledaReply.gDE 3021.TheCourtheld ahearing on theM oticm on
  M ay 9,2019.The Courthas also carefully conducted an in cam era review ofnum erous em ails

   betw een Plaintiff's counsel and counsel for the non-party telephone carriers regarding the

   subpoenasto the telephone carriersthatare atissue in M otion to Com pel.The m atter is now ripe

   forreview .



                                                 1
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 2 of 12



      1.      BA CK GR O U N D

      This discovery dispute involves Defendants' demand that Plaintiff produce to Defendants

   Plaintiff s counsel's em ail com m unications with counsel for the non-party telephone carriers

   AT&T,Sprint,US Cellular,Verizon,andT-M obile('tthecarriers'')regardingthesubpoenasthat
   Plaintiff had issued to various phone carriers to identify subscribers and custom ary users ofthe

   cellphone num bers at issue in this case.Plaintiff issued his tirst set of subpoenas to telephone

   carriers on December 19, 2018,seeking inform ation pertaining to 12,465 phone nllm bers,

   approximately 600 fewernumbersthan alleged intheclass.gDE 273-1.1.On February 7,2019,
   Plaintiffissued a second setofsubpoenas to the caniers,replacing the first setof subpoenas and

   fixing errorsin thefirstsetand addressing thecarriers'objections.gDE 280-11.The amended
   subpoenassoughtinform ation pertaining to few erthan 12,600 phone num bers,approxim ately 500

   fewernum bersthan alleged in the class.

      DefendantsallegethatPlaintiffscounselhashadtoengageinm ultipleconferralswithcounsel

   for the subpoenaed non-parties regarding the scope of the subpoenas to the telephone caniers.

   Because those conferrals have resulted in the modification and narrowing of the subpoenas,

   D efendants allege thatthey should be perm itted to review the em ails in order to Stevaluate the

   natureofwhetherand to whatextentthecarrierswillproduceinformation.''gDE 299,pg.2).ln
   response,Plaintiffclaimshehasalready producedtoDefendantsal1carrierobjectionsandclass
   data thatPlaintiffhas received from the caniers and argues thatthe comm unications between

   Plaintiff's counseland counselfor the caniers are protected by the w ork-productprivilege. gDE

   301,pg.1j.




                                                  2
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 3 of 12




      II.     M O TIO N TO C O M PEL .RE SPON SE.A ND R EPLY

              a. D efendants'M otion

      lntheirMotiongDE 299),DefendantsasktheCourttoorderPlaintifftoproducetoDefendants
   the carrier com m unications because the com m unications pertain to three key issues of

   ascertainability and commonality:1)whethercarriersretain subscriberdata dating to 2011,2)
   whethercaniersretain datapertaining to ûsusers'',and 3)thefeasibility ofobtaining thedatato
   excise subscriber-forwarded numbers.(DE 299,pg.21.Specifically,Defendants are seeking
   inform ation pertaining to Plaintiff s definition of the term ifuser'' provided to A T& T, and

   explanationsasto why hundredsofnum berssoughtby Plaintiffw erenotprovided by the carriers.

   D efendants argue that the Court has a continuing obligation to m onitor class actions and to

   decertify the class if necessary,and the Courtcannot accom plish this w ithoutproduction of the

   caniercommunications.gDE 299,pg.51.Thecarriercommunicationsareessentialtodemonstrate
   Plaintiff's definition of user,and to supportPlaintiff's explanations of delay and difticulties on

   behalf ofthe carriers.1d.D efendants also argue thatthey are unable to properly challenge class

   m em bership w ithoutthe com m unications,because the com m unications have m oditied the scope

   of the subpoenas and provide contextto the subpoena responses.gDE 299,pg.6q.Finally,
   DefendantsarguethatRule26(e)(1)imposeson Plaintiffacontinuing obligation to supplement
   hisdiscovery disclosuresin atimely manner.(DE 299,pg.6j.Defendantsclaim thatsincethey
   have issued Request for Production 39 to Plaintiff,w hich seeks çsall docum ents obtained from

   third-partiesrelating to this Action,''Plaintiffm ustproduce the com m unications.

              b. PlaintifpsR esponse

      lnPlaintiffsResponsegDE 3011,Plaintiffarguesthathehasshareda11objectionsandcalling
   recordshehasreceived from thetelephonecanierswith Defendants (DE 301,pg.31and that


                                                   3
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 4 of 12



   Plaintiff s counsels'em ailcom m unications with the carriers are protected by the work-product

   privilege. gDE 301, pg. 11. Plaintiff also refutes Defendants' contention that the email
   com m unications are third party docum ents as requested by Defendants in their Request for

   Production #39 and arguesthateven iftheemailsweresubjectto thepriordiscovery requests
   datingbackto2012,Plaintiffshouldnotbelimitedinhiscapacitytoobjecttothisproduction.Id.
   Plaintiff claim s that the em ails constitute opinion w ork product because the em ails retlect

   Plaintiffscounsel'smentalimpressions,conclusions,opinions,orlegaltheories.gDE 301,pg.4).
              c. D efendants'R eply

      Defendantsfiled a Reply atD E 302,in w hich D efendantsaddressPlaintiff'sassertion thatthe

   em ailsareprotected work product.D efendantsm aintain thatPlaintiffhasfailed to m eethisburden

   ofdem onstrating thatthe w ork-productprivilege applies to the em ails.Defendants pointoutthat

   em ails are not com parable to w itness interview s or notes but instead contain m odifications to

   subpoenas,whicharepublicmattersthattheCourtmustoverseeandapprove.gDE 302,pg.41.
      Defendantsfirstargue thatbecause FederalRule ofCivilProcedure 45(a)(4)requirespre-
   service notice of a subpoena to a1l parties,com m unications w ith a third party that effectuate

   changes in the subpoena should require notice to all parties. Second, D efendants argue that

   Plaintiff sassertion ofthe w ork-productprivilege w ould im properly renderthecarriers'em ails as

   w ork-product.D efendants also argue that,even ifthe em ails are w ork product,the work-product

   protection is waived w hen protected m aterials are tûdisclosed in a w ay thatsubstantially increases

   the opportunity forpotentialadversariesto obtain the information.''(DE 302,pg.41.Finally,
   D efendants assertthatwithoutthe inform ation contained in the com m unications,D efendants are

   unabletoinquireintothemissingdatafrom tsthousandsofclassmembers.''(DE 302,pg.61.




                                                    4
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 5 of 12




      111.   IN CW ATFD R EVIEW

      Atthe M ay 9,2019 hearing,the Courtordered the ex parte subm ission to the Courtfor in

   cam era review of the em ails betw een Plaintifps counseland counsel for the telephone carriers

   regarding the subpoenasto thetelephone carriersthatare atissue in M otion to Com pel.The Court

   took this step to ensure thatitwas fully inform ed and m ade aw are ofthe contentofthe em ails at

   issue in the pending m otion.The Courtdirected Plaintiff to subm itthe em ails at issue.Plaintiff

   com plied and subm itted the em ailson M onday,M ay 13,2019.The Courthascarefully review ed

   the em ailsw hich are atthe centerofthis discovery dispute.

      IV .   A NA LY SIS

                 A . W ork-productD octrine

          Plaintiffargues thatthe w ithheld em ails are protected by the w ork-productdoctrine.The

   Courtnotesthatthe only privilege Plaintiffhasasserted in the instantdispute isthe w ork-product

   privilege. A s this is a federal diversity action, federal law governs work-productdoctrine

   issues.Guarantee Ins.           Heyernan Ins. Brokers, Inc.,No. 13-2388I-CIV, 2014 W L
   5305581,at*2 (S.D.Fla.Oct.15,2014),
                                     .Sun CapitalPàrtners,Inc.v.Twin Cï/y FireIns.Co.,
  No.12-81397-ClV,2015 W L 9257019,at*3 (S.D.Fla.Dec.18,2015).FederalRule ofCivil
   Procedtlre26(b)(3),whichsetsforththework-productdoctrine,statesinrelevantpart:
          (A)DocumentsandTangibleThings.Ordinarily,apartymaynotdiscoverdocumentsand
             tangible thingsthatareprepared in anticipation oflitigation orfortrialby orforanother
             party orits representative (including the otherparty's attorney,consultant,surety,
             indemnitor,insurer,oragent).But,subjectto Rule 26(b)(4),thosematerialsmay be
             discovered if:
                           1.They areotherwisediscoverableunderRule26(b)(1),
                                                                           'and
                           2.The party showsthatithassubstantialneed forthem aterialsto prepare
                            its case and calm ot, without undue hardship,obtain their substantial
                            equivalentby otherm eans.
          (B)ProtectionAgainstDisclosure.Ifthecourtordersdiscovery ofthosematerials,itmust
             protectagainstthe disclosure ofthe m entalim pressions,conclusions,opinions,orlegal
             theories ofa party's attorney orotherrepresentative concerning the litigation.

                                                  5
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 6 of 12




  Fed.R.Civ.P.26(b)(3).
          tc-f'he w ork productdoctrine protectsfrom disclosure m aterials prepared in anticipation of

   litigationbyorforapartyorthatparty'srepresentative(includingitsattorneyl.''AutoOwnerslns.
   Co.,135F.R.D.at201(citingInreGrandlury Proceedings,601F.2d 162,171(5thCir.1979).
                                                                                  ,
   Fed.R.Civ.P.26(b)(3)).The doctrine protects kûwritten statements,private memoranda and
   personalrecollectionsprepared or form ed by an adverse party's counselin the course ofhis legal

   duties.''Hickman v.Taylor,329U.S.495,510(1947).Courtsgenerallyagreethatwork product
   protection should be determ ined on a case-by-case basis.See Auto O wacr-çlns.Co.,135 F.R .D .at

   202(citationsomittedl;PeteRinaldi'
                                    sFastFoods,Inc.v.GreatAmer.Ins.Cos.,123F.R.D.198,
   202(M .D.N.C.1998),
                     .Chambersv.AllstateIns.Co.,206F.R.D.579,585(S.D.W .Va.2002)).
          Rule 26(b)(3) establishes two tiers of protection: first, work product prepared in
   anticipation oflitigation by an attorney or heragentis discoverable only upon a show ing ofneed

   and hardship'
               , and second, iscore'' or fsopinion''w ork productthat encom passes the Slm ental

   im pressions,conclusions,opinion,legaltheories of an attorney or other representative ofa party

   concerning the litigation''is ksgenerally afforded near absolute protection from discovery.''Kahn

   v.United States,No.13-24366-C1V,2015W L 4112081,at*4 (S.D.Fla.July 8,2015)(citingIn
   reCendantCorp.Sec.Litig.,343F.3d658(3dCir.2003)(citingFed.R.Civ.P.26(b)(3)andInre
   FordMotorCo.,110F.3d954,962n.7(3dCir.1997)).
                  B. W hether the Telephone C arrier C om m unications are Protected bv W ork-
                     ProductPrivileae

          This case concerns w hether,in a class action proceeding,em ails betw een a plaintiff s

   attorneysandtheattonzeysofnon-party anddisinterested witnesses(carriers)whosedocuments
   have been subpoenaed are protected under the opinion w ork-product privilege.A lthough this


                                                   6
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 7 of 12



  appearsto bean issueoffirstimpression in thiscircuit,theHonorable Colleen M cM ahon,United

  StatesDistrictJudge,consideredsimilarcircumstancesin Ricoh Co.v.AerojlexInc.,219F.R.D.
  66,67(S.D.N.Y.2003).Inthatcase,JudgeM cMahonfoundthattheemailsbetweenanemployee
  of the subpoenaed non-party and counselfor defendants ultim ately fellinto tw o categories.The

  first category included em ails that w ere sent by the non-party to defendants' counsel;and the

  second category included em ails thatwere sentby defendants'counselto the non-party.

          Judge M cM ahon determ ined thatthe tirstcategory ofdocum ents,em ails sentby the non-

  partytodefendants'counsel,werenotprotectedbythework-productprivilegebecausethereisno

  confidentialrelationship between the senders (the subpoenaed non-parties) and the recipient
   (defendants'counsel).Ricoh,219 F.R.D.at69.Asto thesecondcategory ofdocuments,Judge
   M cM ahon found thatsom e ofthe em ailssentby defendants'counselto the subpoenaed non-party

   were potentially protected w ork productto the extentthatSûthe e-m ails retlect counsel's strategy

   tbr establishing an affirm ative defense as (tojDefendantsclaim.''l161.at70.However,Judge

   M cM ahon detennined thatw hetherthe em ailscontained w ork productw asa m ootissue,because

   detkndants'counselùçwaived the privilege by sharing his views orquestions with Daninger,an

   em ployee ofa non-pal'ty w itness.''1d.

          The CourtfindsJudge M cM ahon's logic persuasive.A sin Ricoh,the em ails in the instant

   case betw een counsel for the telephone carriers and Plaintiff's counsel ultim ately fall into tw o

   categories:first,em ails that were sent by various counselfor the carriers at issue to Plaintiff s

   counsel,K eith Keogh and A m y W ells;and second,em ailsthatw ere sentby Plaintiff s counselto

   counselforthe caniers.The Courtw illnow analyze the tw o categories ofdocum ents atissue in

   thiscase.


   1JudgeM cM ahonfurtherstated:itIhavenow ay ofknowing whetherthe e-m ailscontain work product,sinceno one
   hasseen fitto send them to m e forinspectionx''Ricoh,2 l9 F.R.D.at70.
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 8 of 12



                 C. W hether the Em ails Sent by the C arriers' C ounsel to Plaintifps counsel
                    are Protected W ork Product

          A s in Ricoh, em ails sent by the carriers' counsel to Plaintifp s counsel in this case are

   sim ply notprotected by the work-productprivilege because there is no confidentialrelationship

   between thesenders(counselforthecarriers)andtherecipient(Plaintiffscounsel).Althougha
   confidentialrelationship existswhere the non-party is,for example,a consultantretained by a

   party oritslawyerand broughtw ithin theprivilege asan agentofthe attorney orparty,the carriers

   areneitherpartiestothisactionnordotheyhaveany interestintheaction.RicohCo.v.Aerojlex
  lnc.,219 F.R.D.66,69 (S.D.N.Y.2003)(citing S.C.D.C.Envt'
                                                         l,L.C.v.New York Marine dr
   G eneral lns. Co.,N o. 96 Civ. 6033, 1998 W L 614478, 1998 U .S. Dist. LEX IS 8808

   (S.D.N.Y.1998)(disclosureofworkproducttooutsidecontractorsdidnotwaiveprotectionwhere
   contractors were either related com panies to plaintiff or acted as agent for plaintiff in the

   litigationl;Garrettv.MetropolitanLfeIns.Co.,etal.,No.95Civ.2406,1996W L 325725,1996
   U.S.Dist.LEXIS 8054 (S.D.N.Y.June 11,1996))(0utsideconsulting firm wasactingasagentof
   defendant's attorney w hen consultant's reports w ere generated under the direction and controlof

   defense counsel).
          ltisastretch worthy ofaM ajorLeagueBaseballfsrstbaseman tbrPlaintiffto arguethat
   correspondence from counsel for non-party, disinterested, subpoenaed telephone caniers to

   Plaintiff s counselare covered by work-productprotection.The w ork-product doctrine does not

   extend so far atield.Thus,the em ails sent by counselfor the subpoenaed telephone carriers to

   Plaintiff'scobm selin this case are sim ply notprotected by the w ork productprivilege.Therefore,

   they shallbeproduced by Plaintiffto Defendants.




                                                   8
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 9 of 12



                  D. W hether Plaintifps C ounsel's Em ails to C ounselfor the Carriers is W ork
                     ProductPursuanttoRule26(b)
          The Court m ust next consider the second category of docum ents, that is, Plaintiff s

  counsel'sem ailsto counselfor the caniers.A fter reviewing the disputed em ails in camera,on an

  exparte basis,the Courtisvery reluctantto find thatthe em ails are w ork productatall.The tenor

   and purpose ofthe emailsare in referenceto publicly filed and issued subpoenasin thiscase.In

   Ricoh,although Judge M cM ahon found thatsom e ofthe em ailssentby defendants'counselto the

   subpoenaed non-party were potentially protected w ork product to the extent that Stthe e-m ails

   retlectcounsel'sstrategy forestablishing an affirmativedefenseasgtolDefendantsclaim,''she
   also stated thatshe had no way ofknow ing ifthey w ere protected work productsince they had not

   been m ade available to her for review .1d. at 70. In this case, however,the undersigned has

   carefully review ed the disputed em ails.ltis clearthatthe em ails atissue in this case solely refer

   to the m odification,scope,and execution ofthe subpoenasissued to the non-party carriers.M any

   of the em ails contain counsels' argum ents and thoughts on the scope of the subpoena,explain

   discrepanciesregarding responsesto the subpoena,ordefine term sused in the subpoena.How ever,

   they are nottypical w ork product.The com m unications by Plaintiff's counsel are not m ade to

   Plaintiff'sow n expertoragent,butratherto a third-party who hasno involvem entin the case other

   than to respond to a law fully issued subpoena.

          The em ailsatissue are directly relevantto the scope ofthe subpoenas sentto the caniers,

   and indeed the em ails seem to m odify the subpoenas via the conferral betw een the counsel

   specified in the em ails.The Courtnotes itsongoing duty to m onitorthis classaction case.K eim v.

   ADF MidAtlantic,LLC,328F.R.D.668(S.D.Fla.2018)(quotingManno v.HealthcareRevenue
   Recovery,LLC,289F.R.D.674,695 (S.D.Fla.2013)),
                                                .Espinoza v.GalardiS.Enterprises,No.
   14-21244,2016W L 127586,at*11(S.D.Fla.Jan.11,2016).AllowingPlaintiffto maintainhis

                                                     9
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 10 of 12



   work-productprivilegewould denyD efendantsim portantinformation pertainingtothenarrowing

   ofthe scope ofthe subpoenats) and production by the carriers in response to the narrowed
   subpoenats).ItwouldalsoundenninetheCourt'sabilitytomonitorthesubpoenastothecarriers
   oreffectively evaluate the m eritsofPlaintiffssubpoena efforts.

          In sum,preventing the production ofthese em ails,which do notconstitute work product,

   would simply be unfairto Defendants.Defendantshave a strong interestin ensuring the validity

   and reliability of the docum ents subpoenaed by Plaintiff from the non-parties, who are

   disinterested telephone carriers. Thus, all of Plaintifps counsel's em ail com m unication w ith

   telephone caniers A T& T,Sprint,U S Cellular,Verizon,and T-M obile regarding the subpoenas

   thatPlaintiff had issued to various phone carriersto identify subscribers and custom ary users of

   the cellphone num bers atissue in thiscase shallbe produced to D efendants.

                 E. Production of the Em ails is R equired Even A ssum ing A rguendo that
                    Plaintiff has A sserted a V alid C laim ofW ork Product

          Although the Courtbelievesthatthe em ailsatissue sim ply do notconstitute w ork product

   atallin thiscase,the issue,like in Ricoh,ism oot.Thisisso becauseto the extentPlaintiffargues

   theemailsconstitutefactworkproduct,Defendantshaveestablished 1)thattheemailsarerelevant
   andproportionaltotheneedsofthiscase,2)thatDefendantshavesubstantialneed fortheemails
   andan inabilitytoobtainthematerialsortheirsubstantialequivalentbyothermeans,and 3)that
   Plaintiff's counsel has w aived w ork-productprivilege by sharing any allegedly protected w ork

   productw ith counselforthe subpoenaed non-parties.Thus,even ifthe em ails arguably constitute

   factw ork product,they stillm ustbe produced.

          A s explained above,the Courtfinds that the em ails are proportionaland relevantto the

   needsOfthiscasepursuanttoRule26(b)(1).Defendantshavefurtherestablishedasubstantialneed
   and an inability to obtain the m aterialsortheir substantialequivalentby otherm eans.Defendants

                                                   10
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 11 of 12



   represented atthe hearing thatthey have repeatedly asked Plaintiff scounselhow the tenn lduser''

   wasdefined in the subpoenas,and how Plaintiffaccountsfornumericaldiscrepanciesregarding

   the phone num bers, and D efendants assertthat they have received no sufficient response from

   Plaintiff The em ailsappearto m odify the scope ofthe subpoenasand contain relevantinfonnation,

   including Plaintiff's definition ofthe term Ctu ser,''which im pacts the carriers'production.Justas

   PlaintiffisrequiredunderFederalRuleofCivilProceduze45(a)(4)toprovidepre-servicenotice
   of a subpoena to allparties,so too isPlaintiffrequired to provide Plaintiffs com m unications to

   the non-parties w hich narrow orrefine the scope ofthe subpoenas.Therefore,even ifthe Court

   weretofindthatsomeofthe emailsconstitutefactworkproductasPlaintiffasserts(which the
   Courtdoesnot),theCourtfindsthatDefendantsarenonethelessentitled to theproduction oîa11
   ofthose em ailsbecauseD efendantshavedem onstrated a substantialneed and an inability to obtain

   the m aterialsortheir substantialequivalentby otherm eans,Kehle,2018 W L 2435176,at*7,and

   because Plaintiffhasw aived any w ork productprotection.

          AstoPlaintiffsargumentthattheemailsconstituteopinionworkproduct,theCourtrejects
   thisargum ent.The Courtfindsthatno such Opinion w ork productexistsfora11Ofthe reasonsstated

   in thisOrder.Further,even ifsome ofthe emailsarguably constituted opinion work product,the

   CourtfindsthatPlaintiffwaived any possible w ork-productprivilege as to inform ation contained

   in the em ails by Plaintiff s counsel's voluntary dissem ination of the em ails to the telephone

   canier's counsel and discussion of the contents of the em ails w ith non-party counsel for the

   caniers. The carriers do notshare a com m on interest in the case w ith Plaintiff,and indeed the

   carriers appearto be adversarial,especially considering Plaintiff's contested m otions to com pel

   certainnon-partiesto comply with subpoenas.(DE 288,DE 3061.Plaintiffandhiscounselcould
   not have reasonably expected that any inform ation contained in Plaintiff's counsel's em ails to


                                                   11
Case 9:12-cv-80577-KAM Document 331 Entered on FLSD Docket 05/30/2019 Page 12 of 12



   counsel for the carriers would be m aintained as secret against Defendants in this litigation.

   Therefore,the Courttinds thateven if Plaintiff had shom a that the em ails sent from Plaintiff's

   counselto thecarrierscontained opinion work product(whichhedid not),Plaintiffwaived any
   claim of work product protection w ith regards to em ails w hen it voluntarily sent the em ails to

   counsel for the disinterested,non-party telephone caniers.See D avis v. United States,NO.08-

   81447-C1V,2010W L 11504342,at*5(S.D.Fla.Feb.25s2010)(citingRicohCo.L/J,219F.R.D.

   at70).
      V.      C O N CLU SIO N

      ln lightof the foregoing,itis ORDERED thatDefendants'M otion to Compel Plaintiff's

   ProductionofCanierSubpoenaCommunicationsgDE 299)isGRANTED.Plaintiffisorderedto
   produce to D efendant,w ithin tive days ofthe date ofthis Order,allofPlaintiff's counsel'sem ail

   com m unications with telephone carriers A T& T, Sprint, U S Cellular, V erizon, and T-M obile

   regarding the subpoenasthatPlaintiffhad issued to various phone carriers to identify subscribers

   and custom ary usersofthe cellphone nlzm bers atissue in thiscase.

       D O N E and O R DE RED in Cham bers atW estPalm Beach,Palm Beach C ounty,Florida,this
  3ohe day ofM ay,2019.


                                                      U% =
                                                        W ILLIAM M A T EW M A N
                                                        UN ITED STATE S M A G ISTR ATE JUD G E




                                                   12
